                              UNITED STATES DISTRICT COURT
                                                                                    Motion GRANTED.
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                        Hearing reset for
                                                                                    5/23/13 at 3:00 p.m.
                                  NORTHEASTERN DIVISION


UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )       No. 2:11-00002
                                              )       Judge Trauger
                                              )
SPIKE HEDGECOTH                               )


                                    MOTION TO CONTINUE

       Comes now the defendant, Spike Hedgecoth, by and through counsel, Sumter L. Camp,

and hereby moves this Honorable Court to continue the February 14, 2013, sentencing hearing in

the above styled cause. In support of this motion defendant would refer the Court to the sealed

affidavit filed herewith.

                                              Respectfully submitted,


                                              s/ Sumter L. Camp
                                              SUMTER L. CAMP
                                              Assistant Federal Public Defender
                                              Attorney for Defendant
                                              810 Broadway, Suite 200
                                              Nashville, TN 37203
                                              615-736-5047

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of February, 2013, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system, which will send a notice of Electronic
Filing to the following:
J. Alex Little, Assistant U.S. Attorney, 110 9th Avenue South, A-961, Nashville, TN 37203;
Paul J. Bruno, Bank of America Plaza, 414 Union Street, Suite 904, Nashville, TN 37219;
Joseph F. Edwards, 1957 Benson Road, Cookeville, TN 38506;



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